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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                   CASE NO. 13CRI027-H

                       Plaintiff,
                vs.                         JUDGMENT OF DISMISSAL
CARl LYNN SEARCY (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:


~    the Court has granted the oral motion of the Government for dismissal,
     without prejudice

~    of the offenses as charged in the Information:

     21 USC 952 and 960 - Importation of Methamphetamine

     18 USC 2     Aiding and Abetting

           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.




                                             UNITED STATES DISTRICT JUDGE
II
